                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
                       Plaintiff,                  )          No. 3:14-CR-2
                                                   )
 v.                                                )
                                                   )
 FLOYD S. SIMPSON,                                 )          (JORDAN / SHIRLEY)
                                                   )
                       Defendant.                  )


                                MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This case came before the Court on June 10, 2014, for a motion

 hearing on Defendant Floyd Simpson’s pretrial motions.1 Defendant Simpson moves the Court

 [Docs. 363 & 367] to adopt the following motions filed by his Codefendants:

                (1) Motion for Hearing on Existence of a Conspiracy [Doc. 355],
                filed on May 1, 2014;

                (2) Motion for Pretrial Notice of FRE Rule 608 Evidence of
                Character or Conduct the Government Intends to Offer or FRE 609
                Impeachment Evidence [Doc. 357], filed on May 1, 2014; and

                (3) Motion for Severance of Defendants [364], filed on May 2, 2014.

 Assistant United States Attorney Caryn L. Hebets appeared on behalf of the Government. Attorney



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         At the time of the motion hearing, Defendant Amanda Roach announced that she
 intended to enter into a plea agreement and would be asking to withdraw her pending pretrial
 motions. On June 24, 2014, the Court granted [Doc. 501] Defendant Roach’s motion to
 withdraw all of her motions.

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 Douglas A. Trant represented Defendant Simpson, who was excused from the hearing.



                          I. MOTIONS TO ADOPT [Docs. 163 & 167]

                Defendant Simpson asks [Docs. 163 & 167] to adopt three motions filed by

 Codefendants Lynn and Roach. The Government does not object to Defendant Simpson joining in

 Defendant Lynn’s motions. Accordingly, Defendant Simpson’s motion [Doc. 363] to adopt two

 motions filed by Defendant Lynn is GRANTED. During the June 10 hearing, the parties agreed

 that Defendant Roach’s Motion for Severance of Defendants [Doc. 364] is moot with respect to

 Defendants Simpson and Roach. Accordingly, the Court finds that Defendant Simpson’s request to

 join [Doc. 367] in Defendant Roach’s Motion for Severance of Defendants should be DENIED as

 moot.



                         II. ENRIGHT/VINSON HEARING [Doc. 355]

                Defendant Simpson asks [Doc. 355] the Court to require the Government to prove

 the existence of a conspiracy and of his connection thereto at a pretrial hearing before it may

 introduce any declarations of coconspirators pursuant to Federal Rule of Evidence 801(d)(2)(E) at

 trial. He argues that this procedure is necessary to avoid prejudice to him from testimony regarding

 codefendants before he is ever implicated in the conspiracy. He contends that a pretrial hearing

 would protect his right to due process of law and would not be unduly burdensome to the

 Government.

                The Government responds [Doc. 386] that a pretrial hearing on the existence of and

 Defendant Simpson’s connection to the conspiracy would be burdensome, time consuming, and a


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 waste of resources, because the same evidence would be presented again at trial. Moreover, the

 Government asserts that a pretrial hearing would permit the Defendant to learn the details of its

 evidence and the identity of its witnesses before trial, in contravention of the legislative intent of

 Federal Rule of Criminal Procedure Rule 16 and the Jencks Act. The Government asks that it be

 allowed to present coconspirator statements at trial subject to a later demonstration of their

 admissibility under the coconspirator exception to the hearsay rule.

                 The Federal Rules of Evidence require that for a statement of a coconspirator to be

 admissible non-hearsay, the statement must be “made by the party’s coconspirator during and in

 furtherance of the conspiracy.” Fed. R. Evid. 801(d)(2)(E). The Sixth Circuit has approved three

 potential procedures for resolving the admissibility of alleged co-conspirator statements: (1) holding

 a pretrial hearing, (2) requiring at trial that the government present evidence of the conspiracy before

 presenting the co-conspirator’s statement, and (3) allowing the government to present the statement

 before proving the conspiracy at trial but instructing the jury that the government must prove the

 conspiracy before it can consider the statement. United States v. Vinson, 606 F.2d 149, 152-53 (6th

 Cir. 1979) (citing United States v. Enright, 579 F.2d 980 (6th Cir. 1978)). The Defendant asks for

 the first of these options, a pretrial or Enright hearing. The Court observes that it is the historical

 practice in this district to use the third of these options, which the Court will refer to as the

 provisional admission option. The Defendant argues that a pretrial hearing is the most efficient way

 to protect his due process rights.

                 Our Court of Appeals for the Sixth Circuit has observed that pretrial Enright hearings

 have the disadvantage of being “burdensome, time-consuming and uneconomic.” Vinson, 606 F.2d

 at 152 (footnote omitted). Nevertheless, “a trial judge, in the exercise of his discretion, may choose


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 to order the proof in this manner if the circumstances warrant.” Id. The decision of which of the

 Vinson options to use falls squarely within the district judge’s sound discretion. United States v.

 Robinson, 390 F.3d 853, 867 (6th Cir. 2004) (stating the decision is “the trial court’s prerogative”).

 A change from the historical method is not warranted when the proponents of the pretrial hearing

 offer only “general and vague objections” that “demonstrate no specific prejudice” resulting from

 the use of the provisional admission option. United States v. Martin, No. 3:07-CR-51, 2008 WL

 152900, at *3 (E.D. Tenn. Jan. 14, 2008).

                 In the instant case, Defendant Simpson argues only that unspecified “facts weigh

 strongly in favor of conducting [a pretrial] hearing to avoid obvious prejudice to this Defendant

 should significant and repeated testimony regarding the co-defendants be introduced prior to the

 required showing on the part of the government establishing this Defendant’s connection to any

 charged conspiracy.” [Doc 355 pp.2-3] The undersigned finds that this is type of general objection

 could be raised in every case in which a conspiracy is charged. Thus, Defendant Simpson has not

 shown that the provisional admission option will cause him some specific prejudice.

                 The Court has considered the Defendant’s argument and finds no reason to depart

 from the traditional provisional admission approach in this case. Because the Defendant’s motion

 relates directly to trial procedures and/or the admissibility of evidence at trial, the Court defers to the

 historical practice2 employed in this district of permitting the Government to present the statement

 before proving the conspiracy and then instructing the jury that the Government must prove the

 conspiracy before it can consider the statement. Accordingly, the Motion for Hearing on Existence



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          The Court observes that the Defendant is free to request a different procedure from
 District Judge Varlan by way of a motion in limine before trial.

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 of a Conspiracy [Doc. 355] is DENIED.



  III. PRETRIAL NOTICE OF CHARACTER/IMPEACHMENT EVIDENCE [Doc. 357]

                Finally, pursuant to Federal Rule of Criminal Procedure 12(b)(4), Defendant Simpson

 requests [Doc. 357] pretrial notice of the Government’s intent to use character evidence under

 Federal Rule of Evidence 608 or impeachment evidence under Federal Rule of Evidence 609.

 Additionally, he asks for a hearing outside the presence of the jury to determine the admissibility of

 such evidence in light of its relevance and any undue prejudice. Defendant Simpson contends that

 pretrial notice of Rule 608 and 609 evidence is necessary to allow him to prepare to argue for the

 exclusion of the evidence or to defend against it.

                The Government responds [Docs. 383 & 388] that it is not required to disclose

 impeaching evidence before trial, unless such evidence is exculpatory.             Nevertheless, the

 Government states that it will disclose impeachment material five days before trial, unless that

 evidence is also Jencks material, which it will produce in compliance with the Jencks Act, 18 U.S.C.

 § 3500. With regard to evidence of a witness’s character for truthfulness under Rule 608, the

 Government contends that the Rule permits such evidence only after the witness’s character for

 truthfulness has been attacked by opinion or reputation evidence. It maintains that in addition to the

 contingent nature of such evidence, the Rules contain no requirement for pretrial notice. The

 Government argues that because Brady v. Maryland, 373 U.S. 83 (1963); Federal Rule of Criminal

 Procedure 16; and the Jencks Act exhaust the universe of discovery to which a defendant is entitled,

 the Court should not order the requested pretrial disclosure.

                Pursuant to Rule 12(b)(4) of the Federal Rules of Criminal Procedure, Defendant


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 Simpson seeks pretrial notice of the Government’s intention to use evidence of a witness’s reputation

 for truthfulness or impeachment evidence. Rule 12(b)(4)(B) provides:

                 At the arraignment or as soon afterward as practicable, the defendant
                 may, in order to have an opportunity to move to suppress evidence
                 under Rule 12(b)(3)(C), request notice of the government’s intent to
                 use (in its evidence-in-chief at trial) any evidence that the defendant
                 may be entitled to discover under Rule 16.

 Fed. R. Crim. P. 12(b)(4)(B). Rule 608, Fed. R. Evid.3, permits a party to challenge the credibility

 of a witness by introducing evidence of the witness’s reputation for truthfulness or untruthfulness.

 Rule 609, Fed. R. Evid., outlines the circumstances under which a witness may be impeached by

 evidence of a criminal conviction. Neither of these rules expressly requires the government to give

 pretrial notice that it intends to use this type of evidence, except that it must give notice of an intent

 to use a conviction that is over ten years old. See Fed. R. Evid. 608, 609(b). Nor do the Federal

 Rules of Criminal Procedure require the Government to disclose the information at issue. See Fed.

 R. Crim. P. 12, 16.

                 First, the Court questions the practical applicability of Rule 12(b)(4) to require notice

 of evidence under Federal Rules of Evidence 608 and 609. Rule 609 deals with impeachment

 evidence, while Rule 12(b)(4) applies to evidence to be used in the Government’s case-in-chief.4


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          “[E]vidence of truthful character is admissible only after the witness’s character for
 truthfulness has been attacked.” Fed. R. Evid. 608(a). The rule does not permit the parties to
 introduce extrinsic evidence, other than a criminal conviction pursuant to Rule 609, to prove
 specific instances of conduct for truthfulness. Fed. R. Evid. 608(b). A court has discretion to
 permit cross-examination of a witness about specific instances of conduct probative of
 truthfulness or untruthfulness, if the questioning relates to the witness’s character for truthfulness
 or untruthfulness or to the truthful or untruthful character of another witness about whom the
 testifying witness has testified. Fed. R. Evid. 608(b).
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         The Court recognizes that the credibility of a witness may be attacked by any party,
 “including the party that called the witness[.]” Fed. R. Evid. 607. Thus, the Government could

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 More importantly, the express purpose of the government’s notice under Rule 12(b)(4) is to allow

 the defendant an opportunity to file a motion to suppress the evidence before trial under Rule

 12(B)(3). Fed. R. Crim. P. 12(b)(4)(A)-(B). Defendant Simpson seeks notice of Rule 608 or 609

 evidence in order to attempt “to exclude” it, presumably by arguing that it is inadmissible under the

 Federal Rules of Evidence, or to defend against it at trial. Thus, the Court finds that Rule 12(b)(4)

 does not support the Defendant’s request for pretrial notice in this case.

                 In any event, evidence of a witness’s truthfulness or lack thereof, under Rule 608, is

 a reactionary type of evidence. In other words, as argued by the Government, such evidence is not

 admissible until the witness’s reputation for truthfulness has been attacked. Fed. R. Evid. 608(a);

 see also Advisory Committee Notes, Fed. R. Evid. 608 (stating that “[c]haracter evidence in support

 of credibility is admissible under the rule only after the witness’ character has first been attacked,

 as has been the rule at common law”). As a practical matter, the use of such evidence does not lend

 itself to pretrial notice because the occasion to use Rule 608 evidence may never arise. As for

 impeachment by evidence of a criminal conviction under Rule 609, the Government has agreed to

 provide notice of its intent to use this evidence five days before trial.5


 choose to impeach a witness that it calls in its case-in-chief. This Court’s Order on Discovery
 and Scheduling requires the Government to “obtain the record of prior convictions, if any, of any
 witness who will testify for the government at trial so that the record will be available to the
 defendant at trial.” [Doc. 17, ¶F.]
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         In its response, the Government declines to provide impeachment evidence covered by
 the Jencks Act until after the direct examination of the witness at trial. Although the Jencks Act
 permits the government to wait for disclosure until after the witness testifies, the Sixth Circuit
 has encouraged the government to provide the information earlier in appropriate cases in order to
 prevent delay at trial. See United States v. Minsky, 963 F.2d 870, 876 (6th Cir. 1992). In its
 Order on Discovery and Scheduling, this Court has also “strongly encouraged [the Government]
 to reveal Jencks Act materials to defense counsel as soon as possible, and well before the
 testimony of government witnesses in order to avoid undue interruptions of trials.” [Doc. 17, ¶O]

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                 Accordingly, the Defendant’s motion [Doc. 357] for pretrial notice of Rule 608 and

 609 evidence is DENIED. The Court finds that the District Judge, to whom issues of the

 admissibility of evidence at trial are entrusted, will be a better position to determine whether a jury-

 out hearing is in order and the admissibility of this evidence in relation to the other evidence

 introduced at trial. Thus, the Defendant may challenge the admissibility of character or impeachment

 evidence before the District Judge.



                                         IV. CONCLUSION

                 After careful consideration of Defendant Simpson’s motions, the Court ORDERS

 as follows:

                 (1) Defendant Simpson’s motion [Doc. 363] to adopt two motions
                 filed by Defendant Lynn is GRANTED;

                 (2) Defendant Simpson’s request to join [Doc. 367] in Defendant
                 Roach’s Motion for Severance of Defendants is DENIED as moot;

                 (3) the Motion for Hearing on Existence of a Conspiracy [Doc. 355]
                 is DENIED and;

                 (4) The Defendant’s Motion for Pretrial Notice of FRE Rule 608
                 Evidence of Character or Conduct the Government Intends to Offer
                 or FRE 609 Impeachment Evidence [Doc. 357] is DENIED.

                 IT IS SO ORDERED.

                                                     ENTER:

                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




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